                         Case 1:25-cv-00748-JKB                    Document 4-24                 Filed 03/07/25   Page 1 of 1



                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MARYLAND
              State of Maryland, et al.
                                                                               *
                    Plaintiff,
                                                                               *
                    v.                                                                            Case No.
                                                                                                             1:25-cv-00748-JKB
              United States Department of Agriculture, et. al,
                                                                               *

                    Defendant.                                                 *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.
               x
                         Exhibit U                       which is an attachment to
                          Plaintiffs' Motion for Temporary Restraining Order
                         will be electronically filed under seal within 24 hours of the filing of this Notice.



                                                                           (title of document)

                         will be electronically filed under seal within 24 hours of the filing of this Notice.

                         I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by emailing as directed by the Office of the U.S. Attorney for the District of Maryland .

              March 7, 2025
              Date                                                                   Signature
                                                                                      James D. Handley, Bar No. 20299
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